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1    BRIAN C. ANDRTICH # 203808
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3    Fresno, California 93721
     Phone: 559-495-0200
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     Fax: 559-495-0123
5
     Attorney for Defendant: Brandon Michael Thomas
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8                                UNITED STATES DISTRICT COURT

9                             EASTEREN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA                       )    Case No.: 1:14-cr-00228-LJO-SKO
                                                    )
12
                          Plaintiff,                )    EX PARTE REQUEST FOR
13                                                  )    MODIFICATION OF DEFENDANT’S
            vs.                                     )    PRETRIAL RELEASE CONDITIONS;
14                                                  )    DECLARATION OF COUNEL; ORDER
     BRANDON MICHAEL THOMAS,                        )
15
                                                    )
16                        Defendant.                )
                                                    )
17

18
            Defendant Brandon Michael Thomas, through his attorney of record Brian C. Andritch,
19
     hereby requests that this Court modify his pretrial release conditions to enable him to spend the
20

21
     Christmas holiday with his family in Winter Garden Florida from December 20, 2014, through

22   January 1, 2015. His Pretrial Services Officer, Jacob Scott is not opposed to this request.
23   Assistant United States Attorney, Grant Rabenn is not opposed to this request.
24
            Mr. Thomas is presently charged with conspiracy to distribute, and possess with intent to
25
     distribute a controlled substance (18 U.S.C. § 846 (a)(1) and (b)(1)(c)) and structuring
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27   conspiracy (18 U.S.C. § 371). He is in compliance with the terms of his pretrial release.

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           Case 1:14-cr-00228-JLT-SKO Document 123 Filed 12/19/14 Page 2 of 3


1           Specifically, Mr. Thomas will travel to Winter Garden, Florida to visit his mother Jackie
2
     Thomas. He will leave Fresno on December 20, 2014, and return home on January 1, 2015.
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5
            In support of this request, I Brian C. Andritch declare as follows:

6           1. I have been retained by Mr. Thomas to represent him in this matter.
7           2. On December 12, 2014, I spoke with Jacob Scott, the Pretrial Services Officer in this
8
     case, and he does not oppose Mr. Thomas’s request.
9
            3. On December 12, 2014, I spoke with Grant Rabenn, the Assistant United States
10

11   Attorney in this case and he stated he does not oppose Mr. Thomas’s request.

12          I declare under penalty of perjury under the laws of the United States that the foregoing is
13
     true and correct. This declaration is made on December 18, 2014, at Fresno, California
14
     Dated: December 18, 2014                                       /S/ Brian C. Andritch
15                                                                  BRIAN C. ANDRITCH
16
            Based on the foregoing, Mr. Thomas requests that the Court modify his pretrial release
17
     conditions as requested and set forth in the proposed order.
18

19
                                                                    BRIAN C. ANDRITCH
20                                                                  Respectfully Submitted,

21
                                                                    /S/ Brian C. Andritch
22
                                                                    BRIAN C. ANDRITCH
23                                                                  Attorney for Defendant
                                                                    Brandon Michael Thomas
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25
                                                 ORDER
26
            The Court hereby orders that Mr. Thomas’ conditions of pretrial release are modified to
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     permit him to spend Christmas with his mother, Jackie Thomas in Winter Garden, Florida. Mr.


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           Case 1:14-cr-00228-JLT-SKO Document 123 Filed 12/19/14 Page 3 of 3


1    Thomas is authorized to leave on December 20, 2014. He shall return to his residence on
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     January 1, 2015.
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4    IT IS SO ORDERED.
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        Dated:    December 19, 2014                            /s/ Sheila K. Oberto
6                                                    UNITED STATES MAGISTRATE JUDGE
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